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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §       CASE NUMBER 6:21-CR-0063-JDK
 v.                                              §
                                                 §
                                                 §
 CODY ALLEN CONGLETON (1)                        §
                                                 §

                 ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS
                OF FACT AND RECOMMMENDATION ON GUILTY PLEA

         The Court referred this matter to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal Procedure 11.

The Magistrate Judge conducted a hearing in the form and manner prescribed by Rule 11 and

issued Findings of Fact and Recommendation on Guilty Plea.                   The Magistrate Judge

Recommended that the Court accept Defendant’s guilty plea and adjudge Defendant guilty on

Count One of the Indictment.

         The parties have not objected to the Magistrate Judge’s findings.

         The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea of

the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers acceptance

of the plea agreement until after review of the presentence report.

         In accordance with Defendant’s guilty plea, the Court finds Defendant Cody Allen

Congleton GUILTY of Count One of the Indictment, charging a violation of Title 21 U.S.C. §

841(a)(1) - Possession with Intent to Distribute and Distribution of Lysergic Acid Diethylamide

(LSD).

       So ORDERED and SIGNED this 4th             day of October, 2021.



                                                 ___________________________________
                                                 JEREMY D. KERNODLE
                                                 UNITED STATES DISTRICT JUDGE
